In the United States District Court
For the Middle District of North Carolina

Brian David Hill,
Petitioner/Defendant

 

Criminal Action No. 1:13-CR-435-1
Vv.
Civil Action No. 1:22-CV-00074
United States of America,
Respondent/Plaintiff

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PETITIONER’S NOTICE OF APPEAL

NOW COMES the Criminal Defendant and 28 U.S.C. § 2255 (“2255
Motion”) and 2255 Petitioner Brian David Hill (“Brian D. Hill”, “Hill”, “Brian”,
“Defendant”, and “Petitioner”), that is acting pro se in this action before this
Honorable Court in the Middle District of North Carolina, and hereby respectfully
moves to file this notice of appeal.

Notice is hereby given that Defendant/Petitioner Brian David Hill in the
above named case hereby appeal to the United States Court of Appeals for the
Fourth Circuit from an order entered in this action on March 2, 2020 (Document
#300).

*See Fed. R. App. P. 3(c) for permissible ways of identifying appellants.

Petitioner requests tolling on this NOTICE OF APPEAL until after the

accompanying Motion is dispositioned, and that accompanying motion is entitled

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the “MOTION TO RECONSIDER THE ORDER/JUDGMENT UNDER
DOCUMENT #300 DENYING PETITIONER’S DOCUMENT #294: “MOTION
FOR APPOINTMENT OF SPECIAL MASTER FOR PROCEEDINGS AND
FINDINGS OF FACT OF GROUND VII”; AND DOCUMENT #296: “MOTION
FOR APPOINTED COUNSEL TO ASSIST IN 2255 CASE MOTION AND |
BRIEF/MEMORANDUM OF LAW IN SUPPORT OF MOTION BY BRIAN
DAVID HILL.”” Petitioner requests tolling of this NOTICE OF APPEAL until.
that Motion is acted upon. See Fed. R. App. 4(a)(4)(A).

Petitioner requests delay of execution of this NOTICE OF APPEAL until
after the accompanying Motion to Reconsider, noted above, is fully dispositioned.
Petitioner is willing to file an AMENDED NOTICE OF APPEAL to cover the
final decision on that accompanying motion or an additional NOTICE OF
APPEAL, if necessary.

Respectfully filed with the Court, this the 9th day of March, 2022. !
Respectfully submitted,
Brian D. fill
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Signed
Brian D. Hill (Pro Se)
310 Forest Street, Apartment 2

Martinsville, Virginia 241 12
Phone #: (276) 790-3505

 

 

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Former U.S.W.G.O. Alternative News reporter

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I ask Q Intelligence and Lin Wood for Assistance (S. O. S.)
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Petitioner also requests with the Court that a copy of this pleading be served oon
the Government as stated in 28 U.S.C.§ 1915(d), that “The officers of the court
shail issue and serve all process, and preform all duties in such cases. Witnesses
shall attend as in other cases, and the same remedies shall be available as are
provided for by law in other cases”. Petitioner requests that copies be served with
the U.S. Attorney office of Greensboro, NC via CM/ECF Notice of Electronic
Filing ("NEF") email, by facsimile if the Government consents, or upon U.S. Mail.
Thank You!

 

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CERTIFICATE OF SERVICE
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Petitioner/Defendant hereby certifies that on March 9, 2022, service was made by
mailing the original of the foregoing: :

“PETITIONER’S NOTICE OF APPEAL”

by deposit in the United States Post Office, in an envelope, Postage prepaid, on

March 9, 2022 addressed to the Clerk of the Court in the U.S. District Court, for
the Middle District of North Carolina, 324 West Market Street, Greensboro, NC
27401.

Then pursuant to 28 U.S.C. §1915(d), Petitioner requests that the Clerk of the !
Court move to electronically file the foregoing using the CM/ECF system which
will send notification of such filing to the following parties to be served in this
action:

 

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Anand Prakash Ramaswamy
U.S. Attorney Office

Civil Case # 1:17 -cv-1036

101 South Edgeworth Street, 4th
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Anand.Ramaswamy(Q@usdoj.gov

Angela Hewlett Miller

U.S. Attorney Office

Civil Case # 1: 17 -cv-1036

101 South Edgeworth Street, 4th
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JOHN M. ALSUP

U.S. Attorney Office

101 South Edgeworth Street, 4th
Floor, Greensboro, NC 27401

john.alsup@usdoj.gov

 

 

 

This is pursuant to Petitioner's "In forma Pauperis" ("IFP") status, 28 U.S.C.
§1915(d) that "The officers of the court shall issue and serve all process, and
perform all duties in such cases ... "the Clerk shall serve process via CM/ECF to

serve process with all parties.

 

Date of signing:

March 9, 2022

 

 

Respectfully submitted,

bron. Hill

Brian D. Hill

Signed

Brian D. Hill (Pro Se)

310 Forest Street, Apartment 2
Martinsville, Virginia 24112
Phone #: (276) 790-3505

    

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I ask Q Intelligence and Lin Wood for
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